      Case 1:25-cv-01144-JAV         Document 84       Filed 02/25/25   Page 1 of 2




                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK; STATE OF ARIZONA;
STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT;
STATE OF DELAWARE; STATE OF HAWAII;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; COMMONWEALTH                       Case No. 1:25-cv-01144 (JAV)
OF MASSACHUSETTS; STATE OF
MINNESOTA; STATE OF NEVADA; STATE OF                  ORDER FOR ADMISSION
NEW JERSEY; STATE OF NORTH CAROLINA;                  PRO HAC VICE
STATE OF OREGON; STATE OF RHODE
ISLAND; STATE OF VERMONT; and STATE OF
WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.




     The motion of Thomas S. Patterson for admission to practice Pro Hac Vice in the

above-captioned action is granted.

     Applicant has declared that he is a member in good standing of the bar of the State

of California and that his contact information is as follows:

     Thomas S. Patterson
     Senior Assistant Attorney General
     California Department of Justice
     Office of the California Attorney General

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      Case 1:25-cv-01144-JAV          Document 84       Filed 02/25/25        Page 2 of 2




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      San Francisco, CA 94102-7004
      (415) 510-3609
      Thomas.Patterson@doj.ca.gov

     Applicant having requested admission Pro Hac Vice to appear for all purposes as

counsel for the Plaintiff State of California in the above-entitled action;

      IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice

in the above-captioned case in the United States District Court for the Southern District

of New York. All attorneys appearing before this Court are subject to the Local Rules of

this Court, including the Rules governing discipline of attorneys.



        February 25, 2025
Dated: _____________________                  ___________________________ ____
                                                    United States District Judge
                                                     Hon. Jeannette A. Vargas




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